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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )            Case No. 8:00CR189
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
MARCO HARDEMAN,                               )
                                              )
                      Defendant.              )


       Defendant Marco Hardeman appeared before the court on June 24, 2005 on a Petition for
Offender Under Supervision [68].     The defendant was represented by appointed counsel Michael
Tassett and the United States was represented by Assistant U.S. Attorney Douglas Semisch. The
defendant admits allegations 1 through 9. The defendant’s oral motion to continue disposition is
granted. The government did not move for detention. The defendant was released on current
conditions of supervision.
       IT IS ORDERED:

       1. A final disposition hearing in this matter is scheduled in Courtroom 3, Third Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 9:00 a.m., on September
23, 2005. Defendant must be present in person.
       2. Defendant is released on current conditions of supervision.
       Dated this 24th day of June, 2005.


                                              BY THE COURT:




                                               s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
